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6
     Attorneys for Plaintiff
7    United States of America

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9                                   IN THE UNITED STATES DISTRICT COURT

10                                      EASTERN DISTRICT OF CALIFORNIA

11

12   UNITED STATES OF AMERICA,                              CASE NO. 1:13-CR-00077 LJO-SKO

13                                 Plaintiff,               STIPULATION TO VACATE TRIAL
                                                            CONFIRMATION AND TRIAL AND SET A
14                          v.                              STATUS CONFERENCE

15   ISMAEL RUBALCAVA,

16                                Defendant.

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18           IT IS HEREBY STIPULATED by and between Benjamin B. Wagner, United States Attorney and

19   Kimberly A. Sanchez, Assistant U.S. Attorney and Eric Kersten, attorney for the defendant, that a trial

20   confirmation scheduled for November 3, 2014 at 8:30 am before the Honorable Lawrence J. O’Neill and the

21   trial date set for November 12, 2014 be vacated, and a status conference be set for December 22, 2014 at

22   8:30 a.m. The reason for the request is because the government has submitted a request to Pretrial Services

23   for an investigation into the appropriateness for deferred prosecution. Pretrial services advised that such an

24   investigation generally takes approximately 45 days. The formal request was submitted on October 29,

25   2014. 45 days from October 29 is December 13, 2014.

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       Stipulation                                          1
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1            The parties further request the Court to enter an Order finding that the "ends of justice" served by a

2    continuance outweigh the interest of the public and the defendant in a speedy trial, and that the delay

3    occasioned by such continuance is excluded from the Act's time limits pursuant to 18 U.S.C. §

4    3161(h)(7)(A).

5            Dated: October 30, 2014                                 Respectfully submitted,

6                                                                    BENJAMIN B. WAGNER
                                                                     United States Attorney
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                                                             By      /s/ Kimberly A. Sanchez
9                                                                    KIMBERLY A. SANCHEZ
                                                                     Assistant U.S. Attorney
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             Dated: October 30, 2014                                 /s/ Eric Kersten
11                                                                   ERIC KERSTEN
                                                                     Attorney for Defendant
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14   IT IS SO ORDERED.

15       Dated:      October 30, 2014                           /s/ Lawrence J. O’Neill
                                                          UNITED STATES DISTRICT JUDGE
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       Stipulation                                          2
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